Case 1:25-cv-00128-JJM-LDA           Document 35-4        Filed 04/11/25      Page 1 of 8 PageID #:
                                            1001



                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND



  STATE OF RHODE ISLAND; et al.,

                   Plaintiffs,

         v.                                                C.A. No. 1:25-cv-128

  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                   Defendants.


                                 DECLARATION OF ALEX DOE

                Pursuant to 28 U.S.C. § 1746, I, Alex Doe, hereby declare as follows:

        1.      I am currently employed by the Minority Business Development Agency (MBDA).

 I am over the age of 18 and have personal knowledge of all the facts stated herein, except those

 matters stated upon information and belief; as to those matters, I believe them to be true.

        2.      I am submitting this declaration pseudonymously because I fear retaliation. But if

 the Court would like to know my name or job position, I would be willing to provide it ex parte

 and under seal.

        3.      This declaration supplements the declaration I submitted on April 3, 2025, with

 information that I have learned since that date.

        4.      On April 9, 2025, I received a notice from the Office of the Deputy Secretary of

 Commerce informing me that I have been identified for termination as part of a Reduction in Force

 (RIF) that would become effective on May 9, 2025. See Exhibit A. That notice states that “[t]his

 RIF action is based on the Department’s plan to eliminate the non-statutory components and

 functions of MBDA.” It also states that “[t]he Department is abolishing all positions within

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Case 1:25-cv-00128-JJM-LDA           Document 35-4        Filed 04/11/25      Page 2 of 8 PageID #:
                                            1002



 MBDA,” and that “[b]ecause all positions in MBDA are being eliminated, [I] do not have an

 assignment right to another position in another competitive area, in the local commuting area or in

 another office.”

        5.      I have also learned that all of the five MBDA employees who were not placed on

 administrative leave as of April 3, 2025, have been reassigned to positions outside of the MBDA.

 For instance, Chief Operating Officer Donald Smith has put in place an “Out of Office” message

 stating that “I am not longer with the Minority Business Development Agency.” And it is my

 understanding that the remaining four MBDA employees who were initially not placed on leave

 are also no longer performing work for the MBDA.

        6.      Based on the foregoing, it is my understanding that the MBDA has already ceased

 performing all of its statutory and non-statutory functions, and that all positions within the agency

 will be abolished as of May 9, 2025.

        I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct. Executed on April 11, 2025.



                                                       /s/ Alex Doe
                                                        Alex Doe




                                                  2
Case 1:25-cv-00128-JJM-LDA   Document 35-4   Filed 04/11/25   Page 3 of 8 PageID #:
                                    1003




                                    EXHIBIT A




                                      3
Case 1:25-cv-00128-JJM-LDA   Document 35-4   Filed 04/11/25   Page 4 of 8 PageID #:
                                    1004
Case 1:25-cv-00128-JJM-LDA   Document 35-4   Filed 04/11/25   Page 5 of 8 PageID #:
                                    1005
Case 1:25-cv-00128-JJM-LDA   Document 35-4   Filed 04/11/25   Page 6 of 8 PageID #:
                                    1006
Case 1:25-cv-00128-JJM-LDA   Document 35-4   Filed 04/11/25   Page 7 of 8 PageID #:
                                    1007
Case 1:25-cv-00128-JJM-LDA   Document 35-4   Filed 04/11/25   Page 8 of 8 PageID #:
                                    1008
